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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

SUNIL BHATIA, individually and            )
derivatively on behalf of MEDVALUE        )
OFFSHORE SOLUTIONS, INC.,                 )
                                          )
        Plaintiff,                        )
                                          )
v.                                        )
                                          )
RAJU VASWANI, an individual, KARAN        )
VASWANI, an individual, MV OUTSOURCING, )
INC., an Illinois Corporation,            )             Case Number: 1:18-cv-2387
                                          )             Hon. Robert M. Dow, Jr., Presiding
        Defendants.                       )
__________________________________________)
RAJU VASWANI, individually and            )
derivatively on behalf of MEDVALUE        )
OFFSHORE SOLUTIONS, INC.,                 )
An Illinois Corporation,                  )
                                          )
        Counter-plaintiff and             )
        Third-party Plaintiff,            )
                                          )
v.                                        )
                                          )
SUNIL BHATIA, an individual,              )
                                          )
        Counter-defendant,                )
                                          )
and                                       )
                                          )
VARSHA BHATIA, an individual,             )
                                          )
        Third-party Defendant.            )

  THIRD-PARTY PLAINTIFF, RAJU VASWANI’S, RESPONSE TO THIRD-PARTY
          DEFENDANT, VARSHA BHATIA’S, MOTION TO DISMISS
            THE FIRST AMENDED THIRD-PARTY COMPLAINT

       NOW COMES Third-Party Plaintiff, Raju Vaswani (hereinafter “Vaswani”), individually

and derivatively on behalf of MedValue Offshore Solutions, Inc. (hereinafter “MedValue”), by



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and through his undersigned counsel, and for his Response to Third-Party Defendant, Varsha

Bhatia’s (hereinafter “V. Bhatia”), Motion to Dismiss The First Amended Third-Party

Complaint, states as follows:

    I.         BACKGROUND, INTRODUCTION AND FACTS ALLEGED

         V. Bhatia has filed a motion to dismiss which reflects a fundamental failure to grasp the

claims against her and which presents no valid grounds for dismissal of those claims. As shown

below, the counts against V. Bhatia more than satisfy the requirements to survive a motion to

dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure. Indeed, and as more fully

discussed below, V. Bhatia’s claim that she “does not owe any of the duties upon which Raju

purports to bring his claims against her,” (Dkt. No. 157, p.6) entirely misses the point of those

claims. They are not based upon V. Bhatia’s breach of any duties, but rather, her actions in

concert and conspiracy with Sunil Bhatia (hereinafter “Bhatia”), and her direct receipt of the

benefit of the wrongdoing, that entitles Vaswani to relief against her.

         Vaswani’s First Amended Counterclaim and Third-Party Complaint alleges the following

facts, inter alia:

         (i)     That Bhatia, “in concert and conspiracy with V. Bhatia” used equipment and

                 accounts belonging to MedValue, for the purpose of a real estate business that

                 Bhatia and V. Bhatia operate together. Cntrclm. at ¶¶ 17-22 (Dkt. No. 64).

                 Vaswani alleges six (6) items of property and accounts that are in the possession

                 of Bhatia and V. Bhatia. Id. at ¶18. He alleges that Bhatia and V. Bhatia are in

                 business together in the real estate field. Id. at ¶21. He alleges that Bhatia and V.

                 Bhatia together have used the business assets of MedValue in their real estate

                 business. Id. at ¶22.



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        (ii)    That Bhatia was expected to devote substantially his entire professional time,

                efforts, and attention exclusively to the business of MedValue. Consistent with

                this, he received, and continues to receive, a compensation package of

                approximately $200,000 per year from MedValue.               Notwithstanding the

                foregoing, Bhatia has been devoting his professional time, efforts and attention to

                his side real estate business. Id. at ¶20.

        Thus, the essence of the claims against V. Bhatia is that she and Bhatia went into

business together in a venture that, with the cooperation of V. Bhatia, drew Bhatia’s time,

attention and effort away from MedValue, and that, working together, they used MedValue

assets to do so. Thus, at a minimum, Vaswani has alleged the existence of the conspiracy and an

act by at least one of the parties to that conspiracy.

        In Count I, Vaswani alleges a claim for breach of fiduciary duty, and while Vaswani does

not claim that V. Bhatia owes any fiduciary duty, he seeks a constructive trust over the assets of

Bhatia and V. Bhatia. Id. at Count I, Prayer for Relief, ¶C. He alleges in Paragraph 32 of that

Count that V. Bhatia has knowingly received the benefits of the property identified above, and

has received profits from the real estate business conducted using MedValue’s business property.

Id. at ¶32.

        In Count II, Vaswani alleges a civil conspiracy claim against Bhatia and V. Bhatia, based

upon his allegation that they entered into an agreement in 2011 to use the business assets of

MedValue for the purpose of their real estate business. Id. at Count II, ¶33. He alleges that they

both engaged in one or more overt acts in furtherance of the conspiracy, consisting of the

operation of the real estate business. Id. at ¶34. Among other relief, in this count as well, he

seeks imposition of a constructive trust. Id. at Prayer for Relief, ¶C.



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          In Count III, Vaswani alleges a claim for aiding and abetting breach of fiduciary duty

against V. Bhatia. Id. at Count III, ¶¶ 1-35. In that Count, he alleges that V. Bhatia knowingly

and substantially assisted Bhatia’s breach of fiduciary duty, including the diversion of his

attention, time, and efforts away from MedValue, and by utilizing and diverting MedValue’s

business assets in furtherance of their real estate business, which resulted in damage to

MedValue. Id., e.g., at ¶¶ 17-22, 25.C., 29.D., 32-35. Similar to Counts I and II, among other

relief, Vaswani seeks imposition of a constructive trust. Id. at Count III, Prayer for Relief, ¶C.

          For the reasons set forth herein, V. Bhatia’s Motion to Dismiss is unfounded and must be

denied.

II.       LAW AND ARGUMENT

          A.     Count I of the Third-Party Complaint Properly Pleads a Claim for
                 Constructive Trust.

          A constructive trust is an equitable remedy, which may be imposed where the person in

possession of the property would be unjustly enriched if he or she were permitted to retain that

property. Blumenthal v. Brewer, 2016 IL 118781, ¶ 47, 69 N.E.3d 834, 848, reh'g denied (Oct.

20, 2016). Wrongdoing is not always necessary, and a constructive trust may be imposed even

where the person who received the money acted in good faith or is innocent of the wrongdoing.

Chicago Title Ins. Co. v. Sinikovic, 125 F. Supp. 3d 769, 780 (N.D. Ill. 2015), citing Smithberg

v. Ill. Mun. Ret. Fund, 735 N.E.2d 560, 566, 192 Ill.2d 291 (2000).

          Sinikovic, supra, is instructive. In that case, the primary defendant was an individual who

used his position as a mechanics lien administrator to misappropriate construction escrow funds

by paying them to a business partly owned by his wife, and to associates who had performed no

work on the construction projects at issue. The associates testified that the wrongdoer had told

them that the source of the funds was his father’s investments and that he was running the funds


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through their businesses to obtain better tax treatment. As noted above, the court found that

“wrongdoing is not always necessary” to impose a constructive trust, and granted summary

judgment in favor of Chicago Title on portions of its constructive trust claims. Id.

       In this case, V. Bhatia does not challenge MedValue’s allegations that she received the

funds from Bhatia’s wrongdoing, rather, she only argues that since she did not owe fiduciary

duties to MedValue she cannot be a party to Count I. She misunderstands that under the holding

in Sinikovic, supra, and the cases cited therein, it does not matter whether she individually owed

such duties – a constructive trust can be imposed based upon her receipt of the misappropriated

funds. Contrary to V. Bhatia’s claim at page 7 of her Motion to Dismiss, discussion of remedies

is not premature given that Vaswani has sufficiently pled a claim for breach of fiduciary duty

against Bhatia, and V. Bhatia cites no case law to support her claim of prematurity. Accordingly,

V. Bhatia’s Motion to Dismiss must be denied.

       B.      Count II of the Third-Party Complaint Properly Pleads a Claim for
               Conspiracy.

       Similar to her argument that she must be dismissed from Count I, V. Bhatia argues that

she must be dismissed from Count II on the grounds that she does not owe fiduciary duties to

MedValue. Here again, Varsha misconstrues the nature of the claims against her.

       In a civil conspiracy claim, a defendant who understands the general objectives of the

conspiratorial scheme, accepts them, and agrees, either explicitly or implicitly to do its part to

further those objectives, is liable as a conspirator. Adcock v. Brakegate, Ltd., 164 Ill. 2d 54, 64,

645 N.E.2d 888, 894 (1994). Once a defendant knowingly agrees with another to commit an

unlawful act or a lawful act in an unlawful manner, that defendant may be held liable for any

tortious act committed in furtherance of the conspiracy. Id. (emphasis added).




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       In this case, Vaswani has alleged that V. Bhatia entered into an agreement with her

husband, Bhatia, to divert his attention away from his primary duties to MedValue and co-

conspire with Bhatia to misappropriate MedValue’s business assets for their real estate business,

and that they both committed overt acts in furtherance of that objective. Cntrclm. at Count II,

¶¶33-34. Thus, it is not relevant whether V. Bhatia herself owed fiduciary duties, but rather, that

she participated in a conspiracy with her husband, Bhatia, to breach the duties that he owed to

MedValue.

       The single case cited by V. Bhatia actually demonstrates why dismissal is not proper in

this case, as it involved denial of a motion to dismiss filed by parties who did not themselves

owe fiduciary duties. Hoffman v. Szyszko, No. 94 C 2357, 1995 WL 519815, at *7 (N.D. Ill.

Aug. 30, 1995).

       In Hoffman, the counter-plaintiff, Szyszko, was a business partner with Hoffman in a silk

screening business referred to as M&R. In 1993, unknown to Szyszko, Hoffman went into

business with two other individuals, Oliva and Levine, to form a business, Beacon, that entered

into transactions with M&R that were unfavorable to M&R. Oliva and Levine had no affiliation

with M&R and owed no fiduciary duties to Szyszko. In 1993, Szysko agreed to sell his shares in

M&R to Hoffman, not knowing that the value of M&R was suppressed due to the unfavorable

transactions with Beacon.

       Among other claims, Szyzszko filed a count for civil conspiracy against Hoffman, Oliva,

Levine and Beacon. Just as V. Bhatia argues in this case, Oliva, Levine and Beacon sought

dismissal on the grounds that they owed no fiduciary duties. Id.

       The court denied the motion to dismiss, citing, among other authorities, Singh v. Curry,

667 F.Supp. 603, 607 (N.D.Ill.1987). The court found that Szyszko had stated a claim for breach



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of fiduciary duty, noting that a conspiracy “involves a combination of two or more persons for

the purpose of accomplishing through concerted action, either an illegal object or a legal object

by an illegal means.” Id. The court discussed Singh, in which the plaintiff had properly alleged

that his attorney and others (who owed no fiduciary duties) had conspired to cause the attorney to

breach his fiduciary duties to the plaintiff. Id.      The court noted that having alleged that

“Hoffman, Oliva, Levine, and Beacon entered into a conspiracy to cause Hoffman to breach his

fiduciary duty to Szyszko”, the plaintiff properly pled a claim for conspiracy.

       Thus, Hoffman actually stands for the direct opposite proposition than the one V. Bhatia

advances. Indeed, the holding in Hoffman directly demonstrates that it is not necessary that all

members of the conspiracy owe fiduciary duties themselves – only that one of them does owe

such duties, and that they conspire to cause that person to breach those duties.

       Here, the pleadings are clear that Vaswani properly alleged a cause of action for breach

of fiduciary duty against Bhatia. Additionally, given the fact that the only case she has cited

actually shows why Count II does state a cause of action against her, V. Bhatia’s Motion to

Dismiss Count II must be denied.

       C.      Count III of the Third-Party Complaint Properly Pleads a Claim for Aiding
               and Abetting.

       V. Bhatia claims that Vaswani fails to state a claim against her for aiding and abetting

Bhatia’s breach of his fiduciary duties for allegedly failing to allege factual allegations that

plausibly suggest a right to relief. Like her other claims, V. Bhatia is mistaken.

       “To state a claim for aiding and abetting a breach of fiduciary duty, a plaintiff must allege

that the defendant aided a party who performed a wrongful, injury-causing act, that the defendant

was aware of its role at the time it provided the assistance, and that the defendant knowingly and

substantially assisted in the violation.” Murphy v. Foster Premier Inc., 2018 WL 3428084, *4

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(N.D. Ill. 2018) (internal citation omitted). A claim for aiding and abetting a breach of fiduciary

duty requires “an underlying breach of fiduciary duty; so to prevail against [V. Bhatia],

[Vaswani] must allege that [Bhatia breached his] fiduciary duties to [MedValue].” Id.

       Here, V. Bhatia admits in her motion that Vaswani alleged that her husband, Bhatia,

owed MedValue fiduciary duties and that he breached those duties. Mtn., p. 8. As it concerns V.

Bhatia, Vaswani alleges, and at the very least infers, that V. Bhatia knowingly and substantially

assisted Bhatia’s breach of fiduciary duty by persuading him to not devote his entire professional

time, efforts and attention to MedValue, but rather to invest that time to the real estate business

and utilize and divert MedValue’s business assets, including a laptop, an I-pad, a landline

telephone and account, a cellular telephone, a cellular telephone account, and an internet

account, in furtherance of their real estate business, which resulted in damage to MedValue.

Cntrclm., ¶¶ 17-22, 25.C., 29.A,D., Count III, ¶¶1-35. Specifically, Vaswani alleges that

“Bhatia and V. Bhatia engaged in [their real estate business] by using all of the assets of

MedValue as described…[t]hus, since at least 2011, Bhatia has been compounding his relative

lack of contribution to MedValue, by using MedValue’s property to support his real estate

business, and at the same time, greatly decreasing his time, attention and dedication devoted to

MedValue, as he and V. Bhatia have pursued their real estate venture.” Id. at ¶ 22.

       A review of the First Amended Counterclaim and Third Party Complaint clearly

establishes that V. Bhatia was put on notice of the nature of all claims asserted against her,

including the claim for aiding and abetting, and that Vaswani sufficiently pled all necessary

elements for such claim. To assert otherwise, defies common sense.




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        Put simply, construing all allegations pled by Vaswani as true, which this Court is

obligated to do, it is clear that Vaswani’s aiding and abetting claim against V. Bhatia is

procedurally sufficient. Therefore, this Court must deny V. Bhatia’s Motion to Dismiss.

III.    CONCLUSION

        For each of the reasons stated herein, Vaswani respectfully requests that this Honorable

Court deny the Motion to Dismiss filed by Varsha Bhatia, and award him such other and further

relief as is equitable and just.

                                            Respectfully submitted,


                                            By: /s/ Thomas A. Christensen
                                                Attorney for Counter-plaintiff

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                                 CERTIFICATE OF FILING AND SERVICE

          I, Thomas A. Christensen, certify as follows under penalty of perjury this 8th day of

September, 2020:

          1.        I filed Third-Party Plaintiff, Raju Vaswani's, Response to Third-Party Plaintiff,

Varsha Bhatia’s, Motion to Dismiss The First Amended Third-Party Complaint by filing it with

the Clerk of the Court via electronic means on September 8, 2020.

          2.        I served Third-Party Plaintiff, Raju Vaswani's, Response to Third-Party

Defendant, Varsha Bhatia’s, Motion to Dismiss The First Amended Third-Party Complaint by

filing it with the Clerk of the Court via electronic means, which electronic filing constitutes

service by virtue of local rule 5.9.

                                                             /s/ Thomas A. Christensen

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